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December 2019 Due From Affiliates

14585 DUE FROM HUNTER MOUNTAIN INVESTMENT TRUST            $     57,963,118
14532 DUE FROM NEXPOINT ADVISORS                                 23,034,644
14750 LONG TERM NOTES RECEIVABLE                                 18,286,268
14531 DUE FROM HIGHLAND CAPITAL MANAGEMENT FUND ADVISORS         10,413,540
14533 DUE FROM HCRE PARTNERS                                     10,192,686
14565 DUE FROM OTHER - TAX LOANS                                  9,946,805
14530 DUE FROM HIGHLAND CAPITAL MANAGEMENT SERVICES               7,543,781
14590 DUE FROM OTHER AFFILIATE                                    5,088,256
14595 DUE FROM HIGHLAND CAPITAL KOREA                             3,132,278
14140 SHARED SVCS FEE RECVBL - PYXIS                                298,283
14010 CASH INTEREST RECEIVABLE                                      285,626
14580 DUE FROM NEXBANK                                               60,000
 Total Due From Affiliates                                 $    146,245,285




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September 2020 Due From Affiliates

 14585 DUE FROM HUNTER MOUNTAIN INVESTMENT TRUST            $     57,963,118
 14532 DUE FROM NEXPOINT ADVISORS                                 23,610,195
 14750 LONG TERM NOTES RECEIVABLE                                 18,286,268
 14531 DUE FROM HIGHLAND CAPITAL MANAGEMENT FUND ADVISORS         10,635,564
 14533 DUE FROM HCRE PARTNERS                                     10,436,597
 14565 DUE FROM OTHER - TAX LOANS                                  8,929,625
 14530 DUE FROM HIGHLAND CAPITAL MANAGEMENT SERVICES               7,518,692
 14590 DUE FROM OTHER AFFILIATE                                    5,088,256
 14595 DUE FROM HIGHLAND CAPITAL KOREA                             3,832,358
 14536 DUE FROM SELECT                                             3,000,000
 14010 CASH INTEREST RECEIVABLE                                    2,718,375
 14140 SHARED SVCS FEE RECVBL - PYXIS                                308,093
 14137 SHARED SVCS FEE RECVBL - OSLI                                 122,000
 14580 DUE FROM NEXBANK                                               60,000
 14148 SHARED SVCS FEE RECVBL - RAND ADVISORS                         40,182
 14142 SHARED SVCS FEE RECVBL - HCLOH                                 24,592
 14535 DUE FROM HERA                                                  10,676
  Total Due From Affiliates                                 $    152,584,592




                                                                                             Appx. 03242
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January 2021 Due From Affiliates

14585-DUE FROM HUNTER MOUNTAIN INVESTMENT TRUST            $    59,480,100
14532-DUE FROM NEXPOINT ADVISORS                                23,034,644
14750-LONG TERM NOTES RECEIVABLE                                18,286,268
14531-DUE FROM HIGHLAND CAPITAL MANAGEMENT FUND ADVISORS        10,635,564
14533-DUE FROM HCRE PARTNERS                                    10,604,952
14565-DUE FROM OTHER - TAX LOANS                                 8,929,625
14530-DUE FROM HIGHLAND CAPITAL MANAGEMENT SERVICES              7,518,692
14536-DUE FROM SELECT                                            4,818,153
14595-DUE FROM HIGHLAND CAPITAL KOREA                            3,832,358
14590-DUE FROM OTHER AFFILIATE                                   2,651,256
14010-CASH INTEREST RECEIVABLE                                   1,111,875
14140-SHARED SVCS FEE RECVBL - PYXIS                               894,280
14146-SHARED SVCS FEE RECVBL - NEXPOINT                            336,000
14149-SHARED SVCS FEE RECVBL - NREA                                160,000
14137-SHARED SVCS FEE RECVBL - OSLI                                122,000
14580-DUE FROM NEXBANK                                              80,000
14142-SHARED SVCS FEE RECVBL - HCLOH                                31,179
14535-DUE FROM HERA                                                 10,676
  Total Due From Affiliates                                $   152,537,622




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Loan Summary

        HCMLP to HCMSI (GL 14530) - Outstanding Loans                                 Date                               Principal Amount
HCMSI Restructure                                                                                  5/31/2017                             6,572,061
HCMSI #46                                                                                          3/26/2018                               158,777
HCMSI #47                                                                                          6/25/2018                               212,403
HCMSI #48                                                                                          5/29/2019                               409,586
HCMSI #49                                                                                          6/26/2019                               153,565
BW Salary Recievable                                                                              12/31/2019                                12,301
                                                                                                    Sub-total                            7,518,692

Total HCMSI Debt to HCM Outstanding                                                                                                     7,518,692
Total HCMSI Debt per GL                                                                                                                 7,518,692

                                                            Reconciled Total                                                            7,518,692
                                                            Unreconciled Difference                                                           -

HCMLP to HCMFA (GL 14531) - Outstanding Loans               Date                                                Principal Amount
HCMFA #2                                                                                           2/26/2014                            2,092,825
HCMFA #5                                                                                           2/26/2016                              965,395
HCMFA #6                                                                                            5/2/2019                            2,457,517
HCMFA #7                                                                                            5/3/2019                            5,119,827
                                                                                                    Sub-total                          10,635,564

Total HCMFA Debt to HCM Outstanding                                                                                                    10,635,564
Total HCMFA Debt per GL                                                                                                                10,635,564

                                                            Reconciled Total                                                        10,635,564.44
                                                            Unreconciled Difference                                                           -

HCMLP to NexPoint Advisors (GL 14532) - Outstanding Loans   Date                                                Principal Amount
NexPoint Restructure                                                                               5/31/2017                           23,034,644
                                                                                                    Sub-total                          23,034,644

Total NexPoint Debt to HCM Outstanding                                                                                                 23,034,644
Total NexPoint Debt per GL                                                                                                             23,034,644


                                                            Reconciled Total                                                           23,034,644
                                                            Unreconciled Difference                                                          0.00

HCMLP to HCRE (GL 14533) - Outstanding Loans                Date                                                Principal Amount
HCRE #9                                                                                           11/27/2013                                  -
HCRE Restructure                                                                                   5/31/2017                            5,829,776
HCRE #10                                                                                          10/12/2017                            3,149,919
HCRE #11                                                                                          10/15/2018                              874,978
HCRE #12                                                                                           9/25/2019                              750,279
                                                                                                    Sub-total                          10,604,952

Total HCRE Debt to HCM Outstanding                                                                                                     10,604,952
Total HCRE Debt per GL                                                                                                                 10,604,952

                                                            Reconciling Items Compound Interest                                                -

                                                            Reconciled Total                                                        10,604,951.61
                                                            Unreconciled Difference                                                          0.01

HCMLP Partner Tax Loans (GL 14565) - Outstanding Loans      Date                                                Principal Amount
Dondero #4                                                                                          2/2/2018                            3,687,270
Dondero #5                                                                                          8/1/2018                            2,619,929
Dondero #6                                                                                         8/13/2018                            2,622,426
                                                                                                    Sub-total                           8,929,625

Total Partner Debt to HCM Outstanding                                                                                                   8,929,625
Total Partner Debt per GL                                                                                                               8,929,625
Reconciling Items
                                                            Reconciled Total                                                          8,929,624.74
                                                            Unreconciled Difference                                                            -

Get Good Loan (GL 14750) - Outstanding Loans                Date                                                Principal Amount
Dugaboy Restructure                                                                                5/31/2017                           18,286,268
                                                                                                    Sub-total                          18,286,268

Total Partner Debt to HCM Outstanding                                                                                                  18,286,268
Total Partner Debt per GL                                                                                                              18,286,268
Reconciling Items
                                                            Reconciled Total                                                        18,286,268.16
                                                            Unreconciled Difference                                                           -
                                                                                                                                         Appx. 03246
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      NPA $30.7M


      Closing Date                             5/31/2017
      Total Commitment                 $      30,746,812
      Rate                                        6.000%
      Maturity:                               12/31/2047


         Date       Interest Accrual       Interest Paid    Accrued Interest    Beg Prin Bal    Principal Paid        Ending Prin Bal   Total Paid
        5/31/2017                                                                                                 $        30,746,812
        6/30/2017        151,628.12                               151,628.12    30,746,812.33                           30,746,812.33
        7/31/2017        156,682.39                               308,310.50    30,746,812.33                           30,746,812.33
        8/31/2017        156,682.39                               464,992.89    30,746,812.33                           30,746,812.33
        9/30/2017        151,628.12                               616,621.00    30,746,812.33                           30,746,812.33
       10/20/2017        101,085.41          (717,706.41)                -      30,746,812.33       (82,293.59)         30,664,518.74    (800,000.00)
       10/31/2017         55,448.17                                55,448.17    30,664,518.74                           30,664,518.74
       11/30/2017        151,222.28                               206,670.46    30,664,518.74                           30,664,518.74
        12/5/2017         25,203.71          (358,904.83)        (127,030.67)   30,664,518.74      (942,600.16)         29,721,918.58   (1,301,504.99)
       12/31/2017        127,030.67                                    (0.00)   29,721,918.58                           29,721,918.58
        1/31/2018        151,459.64                               151,459.64    29,721,918.58                           29,721,918.58
        2/28/2018        136,802.26                               288,261.90    29,721,918.58                           29,721,918.58
        3/31/2018        151,459.64                               439,721.54    29,721,918.58                           29,721,918.58
        4/10/2018         48,857.95          (439,721.54)          48,857.95    29,721,918.58                           29,721,918.58    (439,721.54)
        4/30/2018         97,715.90                               146,573.85    29,721,918.58                           29,721,918.58
         5/1/2018          4,885.79          (146,573.85)           4,885.79    29,721,918.58                           29,721,918.58    (146,573.85)
         5/9/2018         39,086.36          (879,927.65)        (835,955.50)   29,721,918.58                           29,721,918.58    (879,927.65)
        5/31/2018        107,487.49                              (728,468.01)   29,721,918.58                           29,721,918.58
        6/30/2018        146,573.85                              (581,894.17)   29,721,918.58                           29,721,918.58
        7/31/2018        151,459.64                              (430,434.53)   29,721,918.58                           29,721,918.58
        8/31/2018        151,459.64                              (278,974.89)   29,721,918.58                           29,721,918.58
         9/5/2018         24,428.97                              (254,545.91)   29,721,918.58      (280,765.40)         29,441,153.18     (280,765.40)
        9/21/2018         77,434.27                              (177,111.65)   29,441,153.18    (1,023,750.00)         28,417,403.18   (1,023,750.00)
        9/30/2018         42,042.19                              (135,069.46)   28,417,403.18                           28,417,403.18
       10/31/2018        144,811.97                                 9,742.51    28,417,403.18                           28,417,403.18
       11/30/2018        140,140.62                               149,883.13    28,417,403.18                           28,417,403.18
       12/18/2018         84,084.37          (294,695.10)         (60,727.60)   28,417,403.18                           28,417,403.18    (294,695.10)
       12/31/2018         60,727.60                                    (0.00)   28,417,403.18                           28,417,403.18




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        1/31/2019   144,811.97                  144,811.97    28,417,403.18                    28,417,403.18
        2/28/2019   130,797.91                  275,609.88    28,417,403.18                    28,417,403.18
        3/29/2019   135,469.26   (411,079.15)        (0.00)   28,417,403.18    (338,920.85)    28,078,482.33    (750,000.00)
        3/31/2019     9,231.28                    9,231.28    28,078,482.33                    28,078,482.33
        4/16/2019    73,850.25    (83,081.53)         0.00    28,078,482.33   (1,216,918.47)   26,861,563.86   (1,300,000.00)
        4/30/2019    61,818.39                   61,818.40    26,861,563.86                    26,861,563.86
        5/31/2019   136,883.59   (198,701.98)         0.00    26,861,563.86      198,701.98    27,060,265.84             -
         6/4/2019    17,793.05    (17,793.05)         0.00    27,060,265.84     (282,206.95)   26,778,058.89     (300,000.00)
        6/19/2019    66,028.09    (66,028.10)        (0.00)   26,778,058.89   (2,033,971.90)   24,744,086.99   (2,100,000.00)
        6/30/2019    44,742.73                   44,742.73    24,744,086.99                    24,744,086.99
         7/9/2019    36,607.69    (81,350.42)        (0.00)   24,744,086.99    (548,649.58)    24,195,437.41    (630,000.00)
        7/31/2019    87,501.31                   87,501.31    24,195,437.41                    24,195,437.41
        8/13/2019    51,705.32   (139,206.62)         0.00    24,195,437.41   (1,160,793.38)   23,034,644.03   (1,300,000.00)
        8/31/2019    68,157.30                   68,157.31    23,034,644.03                    23,034,644.03
        9/30/2019   113,595.50                  181,752.81    23,034,644.03                    23,034,644.03
       10/15/2019    56,797.75                  238,550.56    23,034,644.03                    23,034,644.03
       10/31/2019    60,584.27                  299,134.83    23,034,644.03                    23,034,644.03
       11/30/2019   113,595.50                  412,730.34    23,034,644.03                    23,034,644.03
       12/30/2019   113,595.50   -530,112.36     (3,786.52)   23,034,644.03                    23,034,644.03    (530,112.36)
       12/31/2019     3,786.52                        0.00    23,034,644.03                    23,034,644.03
        1/31/2020   117,382.02                  117,382.02    23,034,644.03                    23,034,644.03
        2/29/2020   109,808.99                  227,191.01    23,034,644.03                    23,034,644.03
        3/31/2020   117,382.02                  344,573.03    23,034,644.03                    23,034,644.03
        4/30/2020   113,595.50                  458,168.54    23,034,644.03                    23,034,644.03
        5/31/2020   117,382.02   (575,550.56)        (0.00)   23,034,644.03     575,550.56     23,610,194.59
        6/30/2020   116,433.84                  116,433.83    23,610,194.59                    23,610,194.59
        7/31/2020   120,314.96                  236,748.80    23,610,194.59                    23,610,194.59
        8/31/2020   120,314.96                  357,063.76    23,610,194.59                    23,610,194.59
        9/30/2020   116,433.84                  473,497.60    23,610,194.59                    23,610,194.59
       10/31/2020   120,314.96                  593,812.56    23,610,194.59                    23,610,194.59
       11/30/2020   116,433.84                  710,246.40    23,610,194.59                    23,610,194.59
       12/31/2020   120,314.96                  830,561.36    23,610,194.59                    23,610,194.59
        1/14/2021    54,335.79   (830,561.36)    54,335.79    23,610,194.59    (575,550.56)    23,034,644.03   (1,406,111.92)
        1/31/2021    64,370.79                  118,706.58    23,034,644.03                    23,034,644.03
        2/28/2021   106,022.47                  224,729.05    23,034,644.03                    23,034,644.03
        3/31/2021   117,382.02                  342,111.07    23,034,644.03                    23,034,644.03
        4/30/2021   113,595.50                  455,706.58    23,034,644.03                    23,034,644.03
        5/31/2021   117,382.02                  573,088.60    23,034,644.03                    23,034,644.03




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        6/30/2021   113,595.50       686,684.10   23,034,644.03          23,034,644.03
        7/31/2021   117,382.02       804,066.13   23,034,644.03          23,034,644.03
        8/31/2021   117,382.02       921,448.15   23,034,644.03          23,034,644.03
        9/30/2021   113,595.50     1,035,043.65   23,034,644.03          23,034,644.03
       10/31/2021   117,382.02     1,152,425.67   23,034,644.03          23,034,644.03
       11/30/2021   113,595.50     1,266,021.18   23,034,644.03          23,034,644.03
       12/31/2021   117,382.02     1,383,403.20   23,034,644.03          23,034,644.03
        1/31/2022   117,382.02     1,500,785.22   23,034,644.03          23,034,644.03
        2/28/2022   106,022.47     1,606,807.69   23,034,644.03          23,034,644.03
        3/31/2022   117,382.02     1,724,189.72   23,034,644.03          23,034,644.03
        4/30/2022   113,595.50     1,837,785.22   23,034,644.03          23,034,644.03
        5/31/2022   117,382.02     1,955,167.24   23,034,644.03          23,034,644.03
        6/30/2022   113,595.50     2,068,762.75   23,034,644.03          23,034,644.03
        7/31/2022   117,382.02     2,186,144.77   23,034,644.03          23,034,644.03
        8/31/2022   117,382.02     2,303,526.79   23,034,644.03          23,034,644.03
        9/30/2022   113,595.50     2,417,122.29   23,034,644.03          23,034,644.03
       10/31/2022   117,382.02     2,534,504.32   23,034,644.03          23,034,644.03
       11/30/2022   113,595.50     2,648,099.82   23,034,644.03          23,034,644.03
       12/31/2022   117,382.02     2,765,481.84   23,034,644.03          23,034,644.03
        1/31/2023   117,382.02     2,882,863.86   23,034,644.03          23,034,644.03
        2/28/2023   106,022.47     2,988,886.34   23,034,644.03          23,034,644.03
        3/31/2023   117,382.02     3,106,268.36   23,034,644.03          23,034,644.03
        4/30/2023   113,595.50     3,219,863.86   23,034,644.03          23,034,644.03
        5/31/2023   117,382.02     3,337,245.88   23,034,644.03          23,034,644.03
        6/30/2023   113,595.50     3,450,841.39   23,034,644.03          23,034,644.03
        7/31/2023   117,382.02     3,568,223.41   23,034,644.03          23,034,644.03
        8/31/2023   117,382.02     3,685,605.43   23,034,644.03          23,034,644.03
        9/30/2023   113,595.50     3,799,200.94   23,034,644.03          23,034,644.03
       10/31/2023   117,382.02     3,916,582.96   23,034,644.03          23,034,644.03
       11/30/2023   113,595.50     4,030,178.46   23,034,644.03          23,034,644.03
       12/31/2023   117,382.02     4,147,560.48   23,034,644.03          23,034,644.03
        1/31/2024   117,382.02     4,264,942.51   23,034,644.03          23,034,644.03
        2/29/2024   109,808.99     4,374,751.49   23,034,644.03          23,034,644.03
        3/31/2024   117,382.02     4,492,133.52   23,034,644.03          23,034,644.03
        4/30/2024   113,595.50     4,605,729.02   23,034,644.03          23,034,644.03
        5/31/2024   117,382.02     4,723,111.04   23,034,644.03          23,034,644.03
        6/30/2024   113,595.50     4,836,706.55   23,034,644.03          23,034,644.03
        7/31/2024   117,382.02     4,954,088.57   23,034,644.03          23,034,644.03




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        8/31/2024   117,382.02     5,071,470.59   23,034,644.03          23,034,644.03
        9/30/2024   113,595.50     5,185,066.10   23,034,644.03          23,034,644.03
       10/31/2024   117,382.02     5,302,448.12   23,034,644.03          23,034,644.03
       11/30/2024   113,595.50     5,416,043.62   23,034,644.03          23,034,644.03
       12/31/2024   117,382.02     5,533,425.64   23,034,644.03          23,034,644.03
        1/31/2025   117,382.02     5,650,807.67   23,034,644.03          23,034,644.03
        2/28/2025   106,022.47     5,756,830.14   23,034,644.03          23,034,644.03
        3/31/2025   117,382.02     5,874,212.16   23,034,644.03          23,034,644.03
        4/30/2025   113,595.50     5,987,807.66   23,034,644.03          23,034,644.03
        5/31/2025   117,382.02     6,105,189.68   23,034,644.03          23,034,644.03
        6/30/2025   113,595.50     6,218,785.19   23,034,644.03          23,034,644.03
        7/31/2025   117,382.02     6,336,167.21   23,034,644.03          23,034,644.03
        8/31/2025   117,382.02     6,453,549.23   23,034,644.03          23,034,644.03
        9/30/2025   113,595.50     6,567,144.74   23,034,644.03          23,034,644.03
       10/31/2025   117,382.02     6,684,526.76   23,034,644.03          23,034,644.03
       11/30/2025   113,595.50     6,798,122.26   23,034,644.03          23,034,644.03
       12/31/2025   117,382.02     6,915,504.29   23,034,644.03          23,034,644.03
        1/31/2026   117,382.02     7,032,886.31   23,034,644.03          23,034,644.03
        2/28/2026   106,022.47     7,138,908.78   23,034,644.03          23,034,644.03
        3/31/2026   117,382.02     7,256,290.80   23,034,644.03          23,034,644.03
        4/30/2026   113,595.50     7,369,886.31   23,034,644.03          23,034,644.03
        5/31/2026   117,382.02     7,487,268.33   23,034,644.03          23,034,644.03
        6/30/2026   113,595.50     7,600,863.83   23,034,644.03          23,034,644.03
        7/31/2026   117,382.02     7,718,245.85   23,034,644.03          23,034,644.03
        8/31/2026   117,382.02     7,835,627.87   23,034,644.03          23,034,644.03
        9/30/2026   113,595.50     7,949,223.38   23,034,644.03          23,034,644.03
       10/31/2026   117,382.02     8,066,605.40   23,034,644.03          23,034,644.03
       11/30/2026   113,595.50     8,180,200.91   23,034,644.03          23,034,644.03
       12/31/2026   117,382.02     8,297,582.93   23,034,644.03          23,034,644.03
        1/31/2027   117,382.02     8,414,964.95   23,034,644.03          23,034,644.03
        2/28/2027   106,022.47     8,520,987.42   23,034,644.03          23,034,644.03
        3/31/2027   117,382.02     8,638,369.44   23,034,644.03          23,034,644.03
        4/30/2027   113,595.50     8,751,964.95   23,034,644.03          23,034,644.03
        5/31/2027   117,382.02     8,869,346.97   23,034,644.03          23,034,644.03
        6/30/2027   113,595.50     8,982,942.47   23,034,644.03          23,034,644.03
        7/31/2027   117,382.02     9,100,324.50   23,034,644.03          23,034,644.03
        8/31/2027   117,382.02     9,217,706.52   23,034,644.03          23,034,644.03
        9/30/2027   113,595.50     9,331,302.02   23,034,644.03          23,034,644.03




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       10/31/2027   117,382.02     9,448,684.04   23,034,644.03          23,034,644.03
       11/30/2027   113,595.50     9,562,279.55   23,034,644.03          23,034,644.03
       12/31/2027   117,382.02     9,679,661.57   23,034,644.03          23,034,644.03
        1/31/2028   117,382.02     9,797,043.59   23,034,644.03          23,034,644.03
        2/29/2028   109,808.99     9,906,852.58   23,034,644.03          23,034,644.03
        3/31/2028   117,382.02    10,024,234.60   23,034,644.03          23,034,644.03
        4/30/2028   113,595.50    10,137,830.11   23,034,644.03          23,034,644.03
        5/31/2028   117,382.02    10,255,212.13   23,034,644.03          23,034,644.03
        6/30/2028   113,595.50    10,368,807.63   23,034,644.03          23,034,644.03
        7/31/2028   117,382.02    10,486,189.65   23,034,644.03          23,034,644.03
        8/31/2028   117,382.02    10,603,571.68   23,034,644.03          23,034,644.03
        9/30/2028   113,595.50    10,717,167.18   23,034,644.03          23,034,644.03
       10/31/2028   117,382.02    10,834,549.20   23,034,644.03          23,034,644.03
       11/30/2028   113,595.50    10,948,144.71   23,034,644.03          23,034,644.03
       12/31/2028   117,382.02    11,065,526.73   23,034,644.03          23,034,644.03
        1/31/2029   117,382.02    11,182,908.75   23,034,644.03          23,034,644.03
        2/28/2029   106,022.47    11,288,931.22   23,034,644.03          23,034,644.03
        3/31/2029   117,382.02    11,406,313.24   23,034,644.03          23,034,644.03
        4/30/2029   113,595.50    11,519,908.75   23,034,644.03          23,034,644.03
        5/31/2029   117,382.02    11,637,290.77   23,034,644.03          23,034,644.03
        6/30/2029   113,595.50    11,750,886.27   23,034,644.03          23,034,644.03
        7/31/2029   117,382.02    11,868,268.30   23,034,644.03          23,034,644.03
        8/31/2029   117,382.02    11,985,650.32   23,034,644.03          23,034,644.03
        9/30/2029   113,595.50    12,099,245.82   23,034,644.03          23,034,644.03
       10/31/2029   117,382.02    12,216,627.84   23,034,644.03          23,034,644.03
       11/30/2029   113,595.50    12,330,223.35   23,034,644.03          23,034,644.03
       12/31/2029   117,382.02    12,447,605.37   23,034,644.03          23,034,644.03
        1/31/2030   117,382.02    12,564,987.39   23,034,644.03          23,034,644.03
        2/28/2030   106,022.47    12,671,009.86   23,034,644.03          23,034,644.03
        3/31/2030   117,382.02    12,788,391.89   23,034,644.03          23,034,644.03
        4/30/2030   113,595.50    12,901,987.39   23,034,644.03          23,034,644.03
        5/31/2030   117,382.02    13,019,369.41   23,034,644.03          23,034,644.03
        6/30/2030   113,595.50    13,132,964.92   23,034,644.03          23,034,644.03
        7/31/2030   117,382.02    13,250,346.94   23,034,644.03          23,034,644.03
        8/31/2030   117,382.02    13,367,728.96   23,034,644.03          23,034,644.03
        9/30/2030   113,595.50    13,481,324.46   23,034,644.03          23,034,644.03
       10/31/2030   117,382.02    13,598,706.49   23,034,644.03          23,034,644.03
       11/30/2030   113,595.50    13,712,301.99   23,034,644.03          23,034,644.03




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       12/31/2030   117,382.02    13,829,684.01   23,034,644.03          23,034,644.03
        1/31/2031   117,382.02    13,947,066.03   23,034,644.03          23,034,644.03
        2/28/2031   106,022.47    14,053,088.51   23,034,644.03          23,034,644.03
        3/31/2031   117,382.02    14,170,470.53   23,034,644.03          23,034,644.03
        4/30/2031   113,595.50    14,284,066.03   23,034,644.03          23,034,644.03
        5/31/2031   117,382.02    14,401,448.05   23,034,644.03          23,034,644.03
        6/30/2031   113,595.50    14,515,043.56   23,034,644.03          23,034,644.03
        7/31/2031   117,382.02    14,632,425.58   23,034,644.03          23,034,644.03
        8/31/2031   117,382.02    14,749,807.60   23,034,644.03          23,034,644.03
        9/30/2031   113,595.50    14,863,403.11   23,034,644.03          23,034,644.03
       10/31/2031   117,382.02    14,980,785.13   23,034,644.03          23,034,644.03
       11/30/2031   113,595.50    15,094,380.63   23,034,644.03          23,034,644.03
       12/31/2031   117,382.02    15,211,762.65   23,034,644.03          23,034,644.03
        1/31/2032   117,382.02    15,329,144.68   23,034,644.03          23,034,644.03
        2/29/2032   109,808.99    15,438,953.66   23,034,644.03          23,034,644.03
        3/31/2032   117,382.02    15,556,335.69   23,034,644.03          23,034,644.03
        4/30/2032   113,595.50    15,669,931.19   23,034,644.03          23,034,644.03
        5/31/2032   117,382.02    15,787,313.21   23,034,644.03          23,034,644.03
        6/30/2032   113,595.50    15,900,908.72   23,034,644.03          23,034,644.03
        7/31/2032   117,382.02    16,018,290.74   23,034,644.03          23,034,644.03
        8/31/2032   117,382.02    16,135,672.76   23,034,644.03          23,034,644.03
        9/30/2032   113,595.50    16,249,268.27   23,034,644.03          23,034,644.03
       10/31/2032   117,382.02    16,366,650.29   23,034,644.03          23,034,644.03
       11/30/2032   113,595.50    16,480,245.79   23,034,644.03          23,034,644.03
       12/31/2032   117,382.02    16,597,627.81   23,034,644.03          23,034,644.03
        1/31/2033   117,382.02    16,715,009.84   23,034,644.03          23,034,644.03
        2/28/2033   106,022.47    16,821,032.31   23,034,644.03          23,034,644.03
        3/31/2033   117,382.02    16,938,414.33   23,034,644.03          23,034,644.03
        4/30/2033   113,595.50    17,052,009.83   23,034,644.03          23,034,644.03
        5/31/2033   117,382.02    17,169,391.85   23,034,644.03          23,034,644.03
        6/30/2033   113,595.50    17,282,987.36   23,034,644.03          23,034,644.03
        7/31/2033   117,382.02    17,400,369.38   23,034,644.03          23,034,644.03
        8/31/2033   117,382.02    17,517,751.40   23,034,644.03          23,034,644.03
        9/30/2033   113,595.50    17,631,346.91   23,034,644.03          23,034,644.03
       10/31/2033   117,382.02    17,748,728.93   23,034,644.03          23,034,644.03
       11/30/2033   113,595.50    17,862,324.43   23,034,644.03          23,034,644.03
       12/31/2033   117,382.02    17,979,706.46   23,034,644.03          23,034,644.03
        1/31/2034   117,382.02    18,097,088.48   23,034,644.03          23,034,644.03




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        2/28/2034   106,022.47    18,203,110.95   23,034,644.03          23,034,644.03
        3/31/2034   117,382.02    18,320,492.97   23,034,644.03          23,034,644.03
        4/30/2034   113,595.50    18,434,088.47   23,034,644.03          23,034,644.03
        5/31/2034   117,382.02    18,551,470.50   23,034,644.03          23,034,644.03
        6/30/2034   113,595.50    18,665,066.00   23,034,644.03          23,034,644.03
        7/31/2034   117,382.02    18,782,448.02   23,034,644.03          23,034,644.03
        8/31/2034   117,382.02    18,899,830.04   23,034,644.03          23,034,644.03
        9/30/2034   113,595.50    19,013,425.55   23,034,644.03          23,034,644.03
       10/31/2034   117,382.02    19,130,807.57   23,034,644.03          23,034,644.03
       11/30/2034   113,595.50    19,244,403.08   23,034,644.03          23,034,644.03
       12/31/2034   117,382.02    19,361,785.10   23,034,644.03          23,034,644.03
        1/31/2035   117,382.02    19,479,167.12   23,034,644.03          23,034,644.03
        2/28/2035   106,022.47    19,585,189.59   23,034,644.03          23,034,644.03
        3/31/2035   117,382.02    19,702,571.61   23,034,644.03          23,034,644.03
        4/30/2035   113,595.50    19,816,167.12   23,034,644.03          23,034,644.03
        5/31/2035   117,382.02    19,933,549.14   23,034,644.03          23,034,644.03
        6/30/2035   113,595.50    20,047,144.64   23,034,644.03          23,034,644.03
        7/31/2035   117,382.02    20,164,526.67   23,034,644.03          23,034,644.03
        8/31/2035   117,382.02    20,281,908.69   23,034,644.03          23,034,644.03
        9/30/2035   113,595.50    20,395,504.19   23,034,644.03          23,034,644.03
       10/31/2035   117,382.02    20,512,886.21   23,034,644.03          23,034,644.03
       11/30/2035   113,595.50    20,626,481.72   23,034,644.03          23,034,644.03
       12/31/2035   117,382.02    20,743,863.74   23,034,644.03          23,034,644.03
        1/31/2036   117,382.02    20,861,245.76   23,034,644.03          23,034,644.03
        2/29/2036   109,808.99    20,971,054.75   23,034,644.03          23,034,644.03
        3/31/2036   117,382.02    21,088,436.77   23,034,644.03          23,034,644.03
        4/30/2036   113,595.50    21,202,032.28   23,034,644.03          23,034,644.03
        5/31/2036   117,382.02    21,319,414.30   23,034,644.03          23,034,644.03
        6/30/2036   113,595.50    21,433,009.80   23,034,644.03          23,034,644.03
        7/31/2036   117,382.02    21,550,391.82   23,034,644.03          23,034,644.03
        8/31/2036   117,382.02    21,667,773.85   23,034,644.03          23,034,644.03
        9/30/2036   113,595.50    21,781,369.35   23,034,644.03          23,034,644.03
       10/31/2036   117,382.02    21,898,751.37   23,034,644.03          23,034,644.03
       11/30/2036   113,595.50    22,012,346.88   23,034,644.03          23,034,644.03
       12/31/2036   117,382.02    22,129,728.90   23,034,644.03          23,034,644.03
        1/31/2037   117,382.02    22,247,110.92   23,034,644.03          23,034,644.03
        2/28/2037   106,022.47    22,353,133.39   23,034,644.03          23,034,644.03
        3/31/2037   117,382.02    22,470,515.41   23,034,644.03          23,034,644.03




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        4/30/2037   113,595.50    22,584,110.92   23,034,644.03          23,034,644.03
        5/31/2037   117,382.02    22,701,492.94   23,034,644.03          23,034,644.03
        6/30/2037   113,595.50    22,815,088.44   23,034,644.03          23,034,644.03
        7/31/2037   117,382.02    22,932,470.47   23,034,644.03          23,034,644.03
        8/31/2037   117,382.02    23,049,852.49   23,034,644.03          23,034,644.03
        9/30/2037   113,595.50    23,163,447.99   23,034,644.03          23,034,644.03
       10/31/2037   117,382.02    23,280,830.01   23,034,644.03          23,034,644.03
       11/30/2037   113,595.50    23,394,425.52   23,034,644.03          23,034,644.03
       12/31/2037   117,382.02    23,511,807.54   23,034,644.03          23,034,644.03
        1/31/2038   117,382.02    23,629,189.56   23,034,644.03          23,034,644.03
        2/28/2038   106,022.47    23,735,212.03   23,034,644.03          23,034,644.03
        3/31/2038   117,382.02    23,852,594.06   23,034,644.03          23,034,644.03
        4/30/2038   113,595.50    23,966,189.56   23,034,644.03          23,034,644.03
        5/31/2038   117,382.02    24,083,571.58   23,034,644.03          23,034,644.03
        6/30/2038   113,595.50    24,197,167.09   23,034,644.03          23,034,644.03
        7/31/2038   117,382.02    24,314,549.11   23,034,644.03          23,034,644.03
        8/31/2038   117,382.02    24,431,931.13   23,034,644.03          23,034,644.03
        9/30/2038   113,595.50    24,545,526.63   23,034,644.03          23,034,644.03
       10/31/2038   117,382.02    24,662,908.66   23,034,644.03          23,034,644.03
       11/30/2038   113,595.50    24,776,504.16   23,034,644.03          23,034,644.03
       12/31/2038   117,382.02    24,893,886.18   23,034,644.03          23,034,644.03
        1/31/2039   117,382.02    25,011,268.20   23,034,644.03          23,034,644.03
        2/28/2039   106,022.47    25,117,290.68   23,034,644.03          23,034,644.03
        3/31/2039   117,382.02    25,234,672.70   23,034,644.03          23,034,644.03
        4/30/2039   113,595.50    25,348,268.20   23,034,644.03          23,034,644.03
        5/31/2039   117,382.02    25,465,650.22   23,034,644.03          23,034,644.03
        6/30/2039   113,595.50    25,579,245.73   23,034,644.03          23,034,644.03
        7/31/2039   117,382.02    25,696,627.75   23,034,644.03          23,034,644.03
        8/31/2039   117,382.02    25,814,009.77   23,034,644.03          23,034,644.03
        9/30/2039   113,595.50    25,927,605.28   23,034,644.03          23,034,644.03
       10/31/2039   117,382.02    26,044,987.30   23,034,644.03          23,034,644.03
       11/30/2039   113,595.50    26,158,582.80   23,034,644.03          23,034,644.03
       12/31/2039   117,382.02    26,275,964.82   23,034,644.03          23,034,644.03
        1/31/2040   117,382.02    26,393,346.85   23,034,644.03          23,034,644.03
        2/29/2040   109,808.99    26,503,155.83   23,034,644.03          23,034,644.03
        3/31/2040   117,382.02    26,620,537.86   23,034,644.03          23,034,644.03
        4/30/2040   113,595.50    26,734,133.36   23,034,644.03          23,034,644.03
        5/31/2040   117,382.02    26,851,515.38   23,034,644.03          23,034,644.03




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        6/30/2040   113,595.50    26,965,110.89   23,034,644.03          23,034,644.03
        7/31/2040   117,382.02    27,082,492.91   23,034,644.03          23,034,644.03
        8/31/2040   117,382.02    27,199,874.93   23,034,644.03          23,034,644.03
        9/30/2040   113,595.50    27,313,470.44   23,034,644.03          23,034,644.03
       10/31/2040   117,382.02    27,430,852.46   23,034,644.03          23,034,644.03
       11/30/2040   113,595.50    27,544,447.96   23,034,644.03          23,034,644.03
       12/31/2040   117,382.02    27,661,829.98   23,034,644.03          23,034,644.03
        1/31/2041   117,382.02    27,779,212.01   23,034,644.03          23,034,644.03
        2/28/2041   106,022.47    27,885,234.48   23,034,644.03          23,034,644.03
        3/31/2041   117,382.02    28,002,616.50   23,034,644.03          23,034,644.03
        4/30/2041   113,595.50    28,116,212.00   23,034,644.03          23,034,644.03
        5/31/2041   117,382.02    28,233,594.02   23,034,644.03          23,034,644.03
        6/30/2041   113,595.50    28,347,189.53   23,034,644.03          23,034,644.03
        7/31/2041   117,382.02    28,464,571.55   23,034,644.03          23,034,644.03
        8/31/2041   117,382.02    28,581,953.57   23,034,644.03          23,034,644.03
        9/30/2041   113,595.50    28,695,549.08   23,034,644.03          23,034,644.03
       10/31/2041   117,382.02    28,812,931.10   23,034,644.03          23,034,644.03
       11/30/2041   113,595.50    28,926,526.60   23,034,644.03          23,034,644.03
       12/31/2041   117,382.02    29,043,908.63   23,034,644.03          23,034,644.03
        1/31/2042   117,382.02    29,161,290.65   23,034,644.03          23,034,644.03
        2/28/2042   106,022.47    29,267,313.12   23,034,644.03          23,034,644.03
        3/31/2042   117,382.02    29,384,695.14   23,034,644.03          23,034,644.03
        4/30/2042   113,595.50    29,498,290.64   23,034,644.03          23,034,644.03
        5/31/2042   117,382.02    29,615,672.67   23,034,644.03          23,034,644.03
        6/30/2042   113,595.50    29,729,268.17   23,034,644.03          23,034,644.03
        7/31/2042   117,382.02    29,846,650.19   23,034,644.03          23,034,644.03
        8/31/2042   117,382.02    29,964,032.21   23,034,644.03          23,034,644.03
        9/30/2042   113,595.50    30,077,627.72   23,034,644.03          23,034,644.03
       10/31/2042   117,382.02    30,195,009.74   23,034,644.03          23,034,644.03
       11/30/2042   113,595.50    30,308,605.25   23,034,644.03          23,034,644.03
       12/31/2042   117,382.02    30,425,987.27   23,034,644.03          23,034,644.03
        1/31/2043   117,382.02    30,543,369.29   23,034,644.03          23,034,644.03
        2/28/2043   106,022.47    30,649,391.76   23,034,644.03          23,034,644.03
        3/31/2043   117,382.02    30,766,773.78   23,034,644.03          23,034,644.03
        4/30/2043   113,595.50    30,880,369.29   23,034,644.03          23,034,644.03
        5/31/2043   117,382.02    30,997,751.31   23,034,644.03          23,034,644.03
        6/30/2043   113,595.50    31,111,346.81   23,034,644.03          23,034,644.03
        7/31/2043   117,382.02    31,228,728.84   23,034,644.03          23,034,644.03




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        8/31/2043   117,382.02    31,346,110.86   23,034,644.03          23,034,644.03
        9/30/2043   113,595.50    31,459,706.36   23,034,644.03          23,034,644.03
       10/31/2043   117,382.02    31,577,088.38   23,034,644.03          23,034,644.03
       11/30/2043   113,595.50    31,690,683.89   23,034,644.03          23,034,644.03
       12/31/2043   117,382.02    31,808,065.91   23,034,644.03          23,034,644.03
        1/31/2044   117,382.02    31,925,447.93   23,034,644.03          23,034,644.03
        2/29/2044   109,808.99    32,035,256.92   23,034,644.03          23,034,644.03
        3/31/2044   117,382.02    32,152,638.94   23,034,644.03          23,034,644.03
        4/30/2044   113,595.50    32,266,234.45   23,034,644.03          23,034,644.03
        5/31/2044   117,382.02    32,383,616.47   23,034,644.03          23,034,644.03
        6/30/2044   113,595.50    32,497,211.97   23,034,644.03          23,034,644.03
        7/31/2044   117,382.02    32,614,593.99   23,034,644.03          23,034,644.03
        8/31/2044   117,382.02    32,731,976.02   23,034,644.03          23,034,644.03
        9/30/2044   113,595.50    32,845,571.52   23,034,644.03          23,034,644.03
       10/31/2044   117,382.02    32,962,953.54   23,034,644.03          23,034,644.03
       11/30/2044   113,595.50    33,076,549.05   23,034,644.03          23,034,644.03
       12/31/2044   117,382.02    33,193,931.07   23,034,644.03          23,034,644.03
        1/31/2045   117,382.02    33,311,313.09   23,034,644.03          23,034,644.03
        2/28/2045   106,022.47    33,417,335.56   23,034,644.03          23,034,644.03
        3/31/2045   117,382.02    33,534,717.58   23,034,644.03          23,034,644.03
        4/30/2045   113,595.50    33,648,313.09   23,034,644.03          23,034,644.03
        5/31/2045   117,382.02    33,765,695.11   23,034,644.03          23,034,644.03
        6/30/2045   113,595.50    33,879,290.61   23,034,644.03          23,034,644.03
        7/31/2045   117,382.02    33,996,672.64   23,034,644.03          23,034,644.03
        8/31/2045   117,382.02    34,114,054.66   23,034,644.03          23,034,644.03
        9/30/2045   113,595.50    34,227,650.16   23,034,644.03          23,034,644.03
       10/31/2045   117,382.02    34,345,032.18   23,034,644.03          23,034,644.03
       11/30/2045   113,595.50    34,458,627.69   23,034,644.03          23,034,644.03
       12/31/2045   117,382.02    34,576,009.71   23,034,644.03          23,034,644.03
        1/31/2046   117,382.02    34,693,391.73   23,034,644.03          23,034,644.03
        2/28/2046   106,022.47    34,799,414.20   23,034,644.03          23,034,644.03
        3/31/2046   117,382.02    34,916,796.23   23,034,644.03          23,034,644.03
        4/30/2046   113,595.50    35,030,391.73   23,034,644.03          23,034,644.03
        5/31/2046   117,382.02    35,147,773.75   23,034,644.03          23,034,644.03
        6/30/2046   113,595.50    35,261,369.26   23,034,644.03          23,034,644.03
        7/31/2046   117,382.02    35,378,751.28   23,034,644.03          23,034,644.03
        8/31/2046   117,382.02    35,496,133.30   23,034,644.03          23,034,644.03
        9/30/2046   113,595.50    35,609,728.80   23,034,644.03          23,034,644.03




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       10/31/2046   117,382.02    35,727,110.83   23,034,644.03          23,034,644.03
       11/30/2046   113,595.50    35,840,706.33   23,034,644.03          23,034,644.03
       12/31/2046   117,382.02    35,958,088.35   23,034,644.03          23,034,644.03
        1/31/2047   117,382.02    36,075,470.37   23,034,644.03          23,034,644.03
        2/28/2047   106,022.47    36,181,492.85   23,034,644.03          23,034,644.03
        3/31/2047   117,382.02    36,298,874.87   23,034,644.03          23,034,644.03
        4/30/2047   113,595.50    36,412,470.37   23,034,644.03          23,034,644.03
        5/31/2047   117,382.02    36,529,852.39   23,034,644.03          23,034,644.03
        6/30/2047   113,595.50    36,643,447.90   23,034,644.03          23,034,644.03
        7/31/2047   117,382.02    36,760,829.92   23,034,644.03          23,034,644.03
        8/31/2047   117,382.02    36,878,211.94   23,034,644.03          23,034,644.03
        9/30/2047   113,595.50    36,991,807.45   23,034,644.03          23,034,644.03
       10/31/2047   117,382.02    37,109,189.47   23,034,644.03          23,034,644.03




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